        Case
         Case2:16-cr-00030-JAD-CWH
               2:16-cr-00030-JAD-CWH Document
                                     Document172  Filed01/24/17
                                              171 Filed 01/24/17 Page
                                                                  Page11
                                                                       ofof
                                                                          33



 1   DANIEL G. BOGDEN
     United States Attorney
 2   District of Nevada
     SUSAN CUSHMAN
     Assistant United States Attorney
 3   501 Las Vegas Boulevard South
     Suite 1100
 4   Las Vegas, Nevada 89101
     702-388-6336
 5
                          UNITED STATES DISTRICT COURT
 6
                               DISTRICT OF NEVADA
 7                                                    -oOo-

 8   UNITED STATES OF AMERICA,                          )
                                                        )   Case No.: 2:16-cr-0030-JAD-CWH
                       Plaintiff,                       )
 9                                                      )   STIPULATION TO CONTINUE
                                                        )   SENTENCING
10           vs.                                        )   (Third Request)
                                                        )
11   FAUSTO CRUZ-OCHOA,                                 )
                                                        )
12                     Defendant.                       )
                                                        )
13                 IT IS HEREBY STIPULATED AND AGREED, by and between Daniel Bogden,

14   United States Attorney; Susan Cushman, Assistant United States Attorney, counsel for the United

15   States of America and Lance A. Maningo, Esq., counsel for defendant, that sentencing in the

16   above-captioned matter currently scheduled to commence on Monday, January 30, 2017, at 11:00

17   a.m. be vacated and continued to a date and time convenient to all parties, but no earlier than 60

18   days.

19
                   This Stipulation is entered into for the following reason:
20
                   1. The government needs additional time to determine whether there will be a
21
     recommendation for a two-level reduction in the defendant’s base offense level for a group plea
22
     pursuant to United States v. Caro, 997 F.2d 657 (9th Cir. 1993).
23
                   2. The parties agree to the continuance.
24
     Case
      Case2:16-cr-00030-JAD-CWH
            2:16-cr-00030-JAD-CWH Document
                                  Document172  Filed01/24/17
                                           171 Filed 01/24/17 Page
                                                               Page22
                                                                    ofof
                                                                       33



 1        3. The defendant is in custody and does not object to the continuance.

 2        4. This is the third request to continue the sentencing.
 3        DATED this 24th day of January 2017.
 4                                          Respectfully submitted,
 5                                          DANIEL G. BOGDEN
                                            United States Attorney
 6
                                            /s/ Susan Cushman
 7                                          _________________________
                                            SUSAN CUSHMAN
 8                                          Assistant United States Attorney
 9
                                            /s/ Mance A. Maningo
10                                          _________________________
                                            LANCE A. MANINGO
11                                          Counsel for Defendant
12

13

14

15

16

17

18

19

20

21

22

23

24
                                           2
        Case
         Case2:16-cr-00030-JAD-CWH
               2:16-cr-00030-JAD-CWH Document
                                     Document172  Filed01/24/17
                                              171 Filed 01/24/17 Page
                                                                  Page33
                                                                       ofof
                                                                          33



 1

 2                     UNITED STATES DISTRICT COURT
 3                          DISTRICT OF NEVADA
                                                  -oOo-
 4
     UNITED STATES OF AMERICA,                       )
 5                                                   ) Case No.: 2:16-cr-0030-JAD-CWH
                    Plaintiff,                       )
                                                     ) ORDER TO CONTINUE
 6                                                   ) SENTENCING
            vs.                                      )
 7                                                   )
     FAUSTO CRUZ-OCHOA,                              )
 8                                                   )
                    Defendant.                       )
 9                                                   )

10          Based on the pending Stipulation of counsel, and good cause appearing therefore, the

11   Court hereby orders that sentencing in the above-captioned matter be vacated and continued until

12   ______________________
     April                      at 10:00
           3, 2017 at the hour of  the hour of __________ .m.
                                         a.m.

13         DATED
            DATEDthis
                  this24th
                       ____day
                            dayof
                               of January, 2017.
                                  January 2017.

14

15                                               ________________________________
                                                 UNITED STATES DISTRICT JUDGE
16

17

18

19

20

21

22

23

24
                                                 3
